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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

Kisu Seo, on behalf of himself and all
other Plaintiffs similarly situated
known and unknown,
                                                Case No. 19-cv-03248
Plaintiff,
                                                Judge Mary M. Rowland
v.

BK Schaumburg, Inc., et al.

Defendants.

                                       ORDER

     Plaintiff Kisu Seo alleges that he worked overtime hours for a supermarket chain

for which he was not compensated at the proper rate. Seo brings claims under the

Fair Labor Standards Act, 29 U.S.C. § 201, et seq. (FLSA) and Illinois Minimum Wage

Law, 820 ILCS 105/1, et seq. (IMWL).

     A. Background

     Seo initially filed this suit on May 14, 2019, and named only three defendants: H

Mart Midwest Corp., BK Schaumburg, Inc., and Choi. (Dkt. 1). On August 6, 2019,

Defendants’ first motion to dismiss was denied as moot because Seo informed the

court that he planned to file an amended complaint. (Dkt. 13). Inaction ensued. On

August 28, 2019, when Seo did not file an amended complaint by the Court-ordered

deadline, Defendants re-filed their motion to dismiss. (Dkt. 15). On September 30,

2019, the court gave Seo until October 18, 2019 to respond to the motion or file an




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amended complaint. (Dkt. 24). Seo filed the First Amended Complaint (FAC) on

October 21, 2019, three days late, adding six (6) new defendants. (Dkt. 26).

    Faced with a new operative complaint, Defendants again filed a motion to dismiss

arguing, in part, lack of personal jurisdiction and failure to state a claim pursuant to

Federal Rules of Civil Procedure 12(b)(2) and 12(b)(6). 1 (Dkt. 34). On September 16,

2020, the court found Seo had failed to establish personal jurisdiction as to H Mart,

Inc., H Mart American Dream LLC, H Mart Holdings, Inc., H Mart Logistics, Inc., H

Mart Companies, Inc., and H Mart Troy, LLC. (Dkt. 54 at 8). 2 The court also found

that, while BK Schaumburg and Choi were properly named as defendants, Seo failed

to plead that H Mart Midwest was a joint employer pursuant to case law arising

under the FLSA. (Dkt. 54 at 10-11).

    On October 7. 2020 Defendants BK Schamburg and Hye Joo Choi answered the

First Amended Complaint. (Dkt. 55 & 56). A month later, on November 9th, Seo

reported in a Joint Status Report that he intended to seek leave to file another

amended complaint.

    More inaction on the part of plaintiff ensued.

    B. Current motions

    The court is currently presented with two motions. On December 2, 2020

defendants request the Court to dismiss, with prejudice, H Mart, Inc., H Mart




1The court also dismissed, with prejudice, Seo’s claims brought pursuant to the Michigan Workforce
Opportunity Wage Act, Mich. Comp. Laws Ann. § 408.411 et seq. (WOWA).

2The court allowed Seo to conduct limited discovery as to whether defendants were joint employers.
(Dkt. 37).

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American Dream LLC, H Mart Holdings, Inc., H Mart Logistics, Inc., H Mart

Companies, Inc., and H Mart Troy, LLC, all of which were previously dismissed

without prejudice (Dkt. 61 at 6). Defendants also seek to prevent Plaintiff from

seeking certification of a collective action under Fed. Rule Civ. R. 23. Defendants

argue that Plaintiff’s inaction has needlessly drawn out the action and caused delay.

   On December 7, 2020, Seo responded to Defendants’ motion with his own motion:

Plaintiff’s motion for leave to file Amended Complaint and stay discovery (Dkt. 63).

Seo essentially responds that the delay Defendants’ complain of is resolved by his

Proposed Second Amended Complaint.

   Federal Rule of Civil Procedure 15(a)(2) instructs courts that such leave should be

“freely given.” The Supreme Court has interpreted this rule to require that amended

complaints be permitted unless there is a good reason, “such as undue delay, bad

faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies

by amendments previously allowed, undue prejudice to the opposing party by virtue

of allowance of the amendment, [or] futility of amendment.” Foman v. Davis, 371 U.S.

178, 182 (1962); see also Life Plans, Inc. v. Sec. Life of Denver Ins. Co., 800 F.3d 343,

358 (7th Cir. 2015) (citing Foman).

   The court is constrained by the law to allow the current amended complaint. But

it must be noted that Mr. Seo has sought to initiate this proceeding in federal court

and yet, at every turn, it appears to the court he must be cajoled and nudged to

participate in the proceedings. He reported he would file his first amended complaint

on August 6 and took over well over 60 days to file it on October 21, 2019. Over a year



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later, on November 9, 2020, Seo again reported that he would attempt to address the

court’s dismissal ruling via an amended complaint and did not do so until December

7, 2020—and only after being prompted by defendants’ motion to dismiss. The court

appreciates Defendants’ frustrations, this is their fourth motion to dismiss. However,

there is no legal basis under Fed. R. Civ. Pro. 15 to disallow the amended complaint.

There is no prejudice and defendants do not argue any. However, timely filings are

required and expected going forward.

   C. Conclusion

   For the stated reasons, Defendants’ motion to dismiss [61] is denied. Plaintiff’s

motion for leave to file an amended complaint [63] is granted. Plaintiff shall file the

Second Amended Complaint as a separate docket entry by February 16, 2020.




                                             E N T E R:


 Dated: February 11, 2021

                                             MARY M. ROWLAND
                                             United States District Judge




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